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MEMORANDUM AND BRIEF IN SUPPORT OF APPELLEE
ROCON INC’S
INITIAL OFFER AND RESPONSE
TO THE NOTICE OF APPEAL BY APPELLANT BP

May 8, 2013

DEEPWATER HORIZON CLAIM CENTER
CLAIMANT ID 100002412

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STATEMENT OF THE CASE

On June 4, 2012, ROCON INC, (ROCON or Claimant), filed its Registration
Form and Claim Form with the Deepwater Horizon Claim Center, (Claim Center), along
with its supporting documents as called for by the Settlement Agreement’s guidelines for
Business Economic Loss Claims. (Doc. ID 320637, 323886). On April 12, 2013, the
Claim Center issued an Eligibility Notice to ROCON. (Doc. ID 9622480). The award
was predicated on a Base Compensation of $142,576.07 and a Risk Transfer Premium
Factor of 0.25, which calculated as $35,644.02, reduced by prior spill-related payments
of $28,700.52, produced a total Economic Damage Compensation Amount of
$150,049.87.' (Doc. ID 9622480). On April 23, 2013, BP filed its Notice of Appeal.

STATEMENT OF THE ISSUES

I WHETHER THE SETTLEMENT AGREEMENT SHOULD BE
INTERPRETED AND ENFORCED IN THE MANNER MOST
FAVORABLE TO THE CLAIMANT SO AS TO PRODUCE THE
GREATEST AWARD SUPPORTED BY THE FINANCIAL DATA.

Il. WHETHER ROCON INC SATIFIED THE DOCUMENTATION
REQUIREMENTS OF THE SETTLEMENT AGREEMENT.

HI. WHETHER THE CLAIM ADMINISTRATOR PROPERLY DETERMINED
THAT ROCON INC WAS AN ECONOMIC CLASS MEMBER AND
SATISFIED THE CAUSATION STANDARD FOR A_ BUSINESS
ECONOMIC LOSS CLAIMAINT UNDER THE SETTLEMENT
AGREEMENT.

IV. WHETHER THE CLAIM ADMINISTRATOR CALCULATED THE
CORRECT COMPENSATION AMOUNT FOR ROCON INC IN
ACCORDANCE WITH TERMS OF THE SETTLEMENT AGREEMENT.

ROCON was also awarded $530.30 in claimant accounting support reimbursement.

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STANDARD OF REVIEW

Section 6 of the Settlement Agreement sets out the provisions governing Appeal of
Final Determination of Settlement Program, (Settlement Agreement). (Doc. 6276-1, p.
55-61). The correct Standard of Review is set out in paragraph 6.4:

“Appeal Review Standards. The Standard of Review by the Appeal

Panelist or Appeal Panel shall be a de novo review of the complete record

of the Claimant in the Settlement Program to enforce compliance with the
Agreement as approved by the Court.”

Id. at 60. ROCON and the BP Parties are both limited to the Record on Appeal except as
otherwise noted in Rule 12 of the Rules Governing the Appeals Process, (Appellate
Rules).

The Appeal Panel is charged to “enforce compliance with this Agreement as
approved by the Court.” (Doc. 6276-1 at 60). The Agreement specifically directs that the
claims evaluation must be done in a manner favoring the Claimant; to-wit:

“4.3.8. The Claims Administration Vendors shall evaluate and process the

information in the completed Claim Form and all supporting documentation

under the terms of the Economic Damage Claim Process to produce the
greatest ECONOMIC DAMAGE COMPENSATION AMOUNT that

such information and supporting documentation allows under the terms of

the ECONOMIC DAMAGE CLAIM FRAMEWORK.”
Id. at 19. The Agreement mandates that the evaluation and processing of a claim should
be done in such a manner as to provide the “greatest ECONOMIC DAMAGE
COMPENSATION AMOUNT that such information and supporting documentation
allows under the terms of the ECONOMIC DAMAGE CLAIM FRAMEWORK.” Id.

ROCON respectfully submits that the Appeal Panelist should apply the same standard

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and that all doubts should be resolved in favor of awarding and sustaining the greatest
award sustainable. To do otherwise would be to reject the plain language of the
Agreement.

Section 6.2 of the Setthement sets out the “Appeal Compensation Method” as

follows:

“6.2 Appeal Compensation Method. All Appeals where the issue is
the Compensation Amount shall be conducted using a baseball process
in which the Claimant and the BP Parties exchange and submit in writing to
the Appeal Panelist or Appeal Panel their respective proposals (“Initial
Proposal”) for the Compensation Amount they propose the Claimant should
receive. The Appeal Panelists or Appeal Panel may consider only the
following documentation: the Initial and Final Proposal and any
memorandum in support thereof; the complete record of the Claimant
in the Settlement Program; the Agreement and all of its attachments;
Court rulings on similar issues; and prior Appeal rulings on similar
issues. The Claimant and the BP Parties must exchange and submit a final
proposal base compensation amount (“Final Proposal”) to the Appeal
Panelist or Appeal Panel. Either Party shall have five (5) days to accept the
other Party’s Final Proposal and end the Appeal. Without an agreed
resolution, the Appeal Panelist or Appeal Panel must choose to award
the Claimant either the Final Proposal by the Claimant or the Final
Proposal by the BP Parties but no other amount.” (emphasis added).

Id. at 6.2. If the Claimant and the BP Parties cannot reach an agreed settlement, the
Appeal Panelist must either award the Claimant’s Final Proposal or the BP Parties’ Final
Proposal, but no other amount. Id. The BP Parties have urged that the Claimant’s case be
remanded for further calculations under a different method than that applied by the Claim
Administrator and approved by the Court in its Opinion dated March 5, 2013. (Appendix
A). Under the Appellate Rules, for the Appeal Panel to remand the Appeal for further

findings, it must find that:

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“(a) a new document has been introduced on appeal that the Appeal Panel
determines would change the outcome of the Program’s determination to a
value that is neither the claimant nor BP’s Final Proposal amount; or (b) the
information in the record is not sufficient to support either the claimant or
BP’s Final Proposal.”

(Rule 17(d)(5)). It is ROCON’s position that the record is clear; the standards of the
settlement were followed by the Administrator; remand is not called for, and the award

should be confirmed.

STATEMENT OF THE FACTS

ROCON seeks confirmation of the Compensation Award issued under the terms of
the Settlement Agreement, as approved by the United States District Court on December
21, 2012. (Doc. 8138). ROCON is an Alabama corporation that has done business as a
construction contractor in Mobile, Alabama. In the normal course of its business
ROCON maintains monthly Profit & Loss Reports, (Monthly P&L Reports). (Doc. ID
2005158, 131986, 131987, 131988, 2005368). These Monthly P&L Reports were kept
contemporaneously and recorded under the Accrual Basis Accounting Method. Id.
ROCON’s Monthly P&L Reports are accurate, complete and represent a valid history of
the corporation’s business history. Id.

Each year, ROCON filed timely and accurate Federal Tax Returns, under oath
with the statutory penalty of perjury and using the Cash Basis Accounting Method. (Doc.
ID 131991, 132001, 132009, 7183367, 7623296). These documents were created and
maintained in the usual course of business by ROCON and were provided as part of the

documentary support for the claim.

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As a member of the Business Economic Class, ROCON filed its Registration
Form and Claim Form with the Deepwater Horizon Claim Center on June 4, 2012. (Doc.
ID 320637, 323886). As part of the claim documentation methodology, the Claim
Administrator compared ROCON’s Monthly P&L Reports (book records) to ROCON’s
Federal Tax Returns for the years 2007 through 2011. Because ROCON’s books are
maintained on a different basis than its tax returns, ROCON submitted a reconciliation
containing book to tax adjustments to the Claim Administrator. (Doc. ID 7623331). This
comparison noted some minor variances between ROCON’s Gross Receipts and Net
Income reported on the Monthly P&L Reports as compared to the Gross Receipts and Net
Income as set out in ROCON’s Federal Tax Returns. (Doc. File ID 9269716 at 11). The
variations on gross receipts were 2.59% for 2007; -1.92% for 2008; -2.03% for 2009; -
1.77% for 2010; and -8.00% for 2011. (Doc. ID 9269716 at 11). The variations on net
income were -1.39% for 2007; 2.39% for 2008; 0.50% for 2009; -0.02% for 2010; and -
0.22% for 2011. Id. Based on these calculations the Claim Administrator determined in
his discretion that there were no material discrepancies between the amounts reflected in
ROCON’s Monthly P&L Reports and its Federal Tax Returns. ROCON’s internal record
keeping and its tax reporting reflected a true picture of the Corporation’s operations.

On November 8, 2012, a Final Fairness Hearing was conducted, and the BP
Parties, [the BP Defendants], presented findings of fact and conclusions of law in support
of the final approval of the Economic and Property Damages Settlement Agreement.

(Doc. 7945). Before the hearing, thousands of businesses had made claims and received

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awards for economic loss damages under the Settlement.* (Appendix C). From the
Settlement’s inception, the Claim Administrator reported every Compensation Award to
the BP Parties along with a complete explanation of the methodology used to determine
revenues and variable profits. (Doc. 6276-1 Section 6.1.2.4, p. 61). Except for awards
under $50,000, the BP Parties had an absolute right to challenge the methodology used as
well as the results rendered for each of these awards. Id. Prior to the Final Fairness
Hearing, the BP Parties had actual knowledge of the means and methods used to calculate
revenues and variable profits. Id.

At the Final Fairness Hearing, the BP Parties could have denounced any aspect of
the Settlement Agreement or the manner by which the Claim Administrator implemented
it. Instead, the BP Parties urged the Court to make a finding approving the
methodologies employed in calculating awards for class members; which would include
ROCON. (Doc. 7945 at 43). The BP Parties did not complain to the Court that the
Settlement should not allow inland claimants to recover. Indeed, the BP Parties touted
the Settlement’s geographic “Loss Zones” as a benefit that should be approved; stating:

“Similarly, the zones included in the Economic Loss Zone Map

reasonably reflect the likelihood of a potential economic effect of the

spill; it is generally reasonable to posit that as distance increases away
from the coast, the likelihood of damage is reduced.”

7 As of December 11, 2012, the Court noted that 91,902 claims had been submitted
to the Settlement Program of which 50,505 had been reviewed. Of these claims, 18,332
had been declared eligible for payment with notices issued totalling approximately
$1.377 billion in payments.

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(Doc. 7945 at 44).? The BP Parties also advised the Court of the favorable treatment
afforded claimants in the Settlement’s causation tests; stating:

“For those claimants required to prove causation, however, the tests

are reasonable. See Landry Decl. (Ex. 13) 38 (describing the causation

tests as "consistent with ... economic reality"). Indeed, in many ways

the causation principles are remarkably favorable to claimants. See, e.g.,

Sharp Decl. (Ex. 18) 17 (‘{OJnce a business meets the causation

requirements, for purposes of quantifying compensation, all

revenue and variable profit declines during the claimant-selected
compensation period are presumed to be caused by the spill, with no
analysis required to determine whether the declines might have been

due, at least in part, to other causes.’).” (emphasis added).

(Doc. 7114-1 at 49). Based in part on the urging of the parties, including the BP Parties,
the United States District Court issued its Order and Judgment Granting Final Approval
of Economic and Property Damages Settlement and Confirming Certification of the
Economic and Property Damages Settlement Class, (Order and Judgment), on December
21, 2012. (Doc. 8139).

After reviewing essentially the same arguments presented by BP in other appeals
as those presented here, i.e. the “matching” and revenue “smoothing” arguments, on
January 15, 2013 the Claims Administrator issued a policy decision adopting specific
policies regarding the proper means and methods to be used in the calculation of Business

Economic Loss Claims under the Settlement Agreement. The policy decision specifically

notes that:

3 The Zone Map allows businesses and individuals to make claims for economic loss if the
claimant is located anywhere in the States of Alabama, Mississippi, Louisiana as well as
significant portions of Texas and Florida. ROCON is located in Mobile, Alabama within Zone
D. The Zone Map is attached at Appendix D.

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1. Business Economic Loss Claims: Calculation of Variable Profit.
* * * *

In performing these calculations, the Claims Administrator will
typically consider both revenues and expenses in the periods in which those
revenues and expenses were recorded at the time. The Claims
Administrator will not typically re-allocate such revenues or expenses to

different periods...

* * * *
2. Business Economic Loss Claims: Timing of Revenue for Purposes of
Causation.

Exhibit 4B of the Settlement Agreement sets out the methodology to

be used in assessing causation. That methodology largely concerns

consideration of total net revenues before the spill vs. total net revenues

after the spill. In performing these calculations, the Claims Administrator

will typically consider revenues in the periods in which those revenues

were recorded at the time. The Claims administrator will not typically re-

allocate such revenues to different periods...

(Appendix B). The Claim Administrator’s Policy Decision specifically rejects the
position urged by the BP Parties in this appeal of ROCON’s valid claim.

Despite the Claim Administrator’s clear policy statement, the BP Parties sought
and were allowed to present the issue of “matching” and revenue “smoothing” to the
Court. After extensive briefing, on March 5, 2013, Judge Barbier issued an opinion
which “affirms the Claim Administrator’s interpretation as set forth in the January
15, 2013 Announcement of Policy Decisions Regarding Claims Administration.”
(emphasis added). (Appendix A). The Court notes that “Nowhere does the Agreement
state or indicate that revenue and expenses must be ‘matched’ or revenues

‘smoothed’, nor does it state that one should inquire into when revenue was

‘earned.’” (emphasis added). Id. The Court further states:

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“the same months of the Compensation Period are to be compared with the
months in the Benchmark Period; not, as BP urges, that the Claim
Administrator’s accountants should seek out months where the claimant
engaged in comparable activity.” Notably, this is the exact interpretation
BP advocated while the parties negotiated the Settlement Agreement:

The word ‘comparable’ and phrase ‘comparable months of” is
used throughout the document in the context of comparing the
months selected by the Claimant in 2010 to compare against
the same months in the Benchmark Period.” (emphasis added
by Court).

Id. With regard to the issue of what the word “corresponding” means in the Settlement
Agreement, the Court adopted Class Counsel’s position which corresponds with the
Claim Administrator’s Policy Decision and further states that the variability of results
was a known and acknowledged factor of the Settlement for the BP Parties:

“The question is whether variable expenses must correspond to the
revenue those expenses produced, as BP contends, or whether variable
expenses must correspond to ‘the same time period,’ as Class Counsel
contends. BP claims Class Counsel’s interpretation ignores
‘corresponding;’ Class Counsel claims that BP’s interpretation ignores ‘the
same time period.’

The Court adopts Class Counsel’s interpretation as it is most in line
with the rest of the Settlement Agreement....

* * * * *

With respect to BP’s argument that this interpretation of the
Settlement Agreement can create absurd results, BP’s declarant
acknowledges that class settlement payments do not always perfectly match
economic losses in every instance. Polinsky Declaration, p.5 n.8 Ex. 9 to
BP’s submission. BP’s counsel similarly explained that “false positives”
are an “inevitable concomitant of an objective quantitative, data-based
test.” Letter from Mark Holstein to Patrick Juneau (September 28, 2012),
p.3, Ex. 12 to PSC’s Submission.

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And, as mentioned above, the parties agreed to give Claimants
flexibility in choosing the most favorable Compensation and Benchmark
Periods. Indeed, the Settlement Agreement provides that if a Claimant fails
to select the period that generates the greatest recovery, the Program will
choose that period for him. Objective formulas, the possibility of “false
positives,” and giving claimants’ flexibility to choose the most favorable
time periods are all consequences BP accepted when it decided to buy
peace through a global, class-wide resolution. In light of this, to the extent
that the Claims Administrator’s interpretation produces “false positives” or,
as BP claims, “absurd” results, it appears that the Settlement Agreement
anticipates that such results would sometimes occur.

The overarching theme of the Settlement is a transparent, uniform
application of an objective quantitative data-based test which can be fairly
and efficiently administered by the Claims Administrator. Notably, the
Settlement Agreement itself defines those businesses that lost profits,
income, and/or earnings “as a result of” the Spill as those businesses that
meet the objective causation requirements set forth in Exhibit 4B. Once the
Settlement’s causation formula is met, then all losses calculated under
Exhibit 4C are presumed to be attributable to the oil spill. BP’s
interpretation injects a subjective notion of alternative causation and a
degree of complexity that are contrary to the Settlement’s terms.”

Id. The Court’s March 5, 2013 Opinion and the Claim Administrator’s Policy Decision
should be given their full weight in ROCON’s claim and the Claims Administrator’s
award should be affirmed.

It should also be noted that while it benefited the BP Parties to urge approval of
the Settlement Agreement, the BP Parties did not complain to the Court about the
method(s) used by the Claim Administrator in calculating variable profits. The BP
Parties never suggested that any clarification was needed to the phrase “corresponding
variable expenses,” and they never urged the Court to require “matching of revenue and
expenses.” In its filings with the Court, during the Final Fairness Hearing and up to the
date of the Court’s Order and Judgment, the BP Parties never urged use of Internal

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Revenue Service Federal Tax Regulations §1.460-3 nor any Financial Accounting
Standard Board Codifications. On April 12, 2013 the Claim Administrator issued
ROCON’s Economic Loss Claim Eligibility Notice stating:

“We have reviewed this claim and find that it qualifies for payment under

the terms of the Economic and Property Settlement Agreement

(‘Settlement Agreement’).”
(Doc. File ID 9622480 at 1). The Claim Administrator calculated ROCON’s
Compensation Award to be $142,576.07 with a Risk Transfer Premium Amount, (RTP),
of $35,644.02, reduced by prior spill-related payments of $28,700.52, for a total Award
Amount of $150,049.87."

ARGUMENT

This appeal presents an issue decided by the supervisory Federal District Court in
its Order entered on March 5, 2013, a copy of which is attached as Appendix A. For the
reasons set forth in the March 5, 2013 Order and the facts and arguments presented
herein, the Claim Administrator’s calculation and Notice of Eligibility to ROCON should
be affirmed in its entirety.

I. THE SETTLEMENT AGREEMENT MUST BE INTERPRETED AND

ENFORCED IN THE MANNER MOST FAVORABLE TO THE

CLAIMANT SO AS TO PRODUCE THE GREATEST AWARD

SUPPORTED BY THE FINANCIAL DATA UNDER THE TERMS OF THE
SETTLEMENT.

A. It Is The Responsibility Of The Settlement Program (Including the Appeal
Panelists) To Faithfully Apply The Terms Of The Settlement Agreement.

4 This Award Amount included a $530.30 reimbursement for the Claimant’s Accounting

Support.

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It is important to recognize that the Settlement Agreement is a compromise by the
parties involved in litigating disputed claims. The claimants/plaintiffs relinquished the
possibility of unlimited compensatory damages and agreed to accept a potentially lesser
amount with more certainty of recovery. The BP Parties agreed to pay claims it might
otherwise have defeated but accepted responsibility for paying every claim that qualified
under the causation tests and generated a compensation award in accordance with the
terms of settlement. Both claimants and the BP Parties agreed to a Court supervised,
neutral settlement process overseen by the Claim Administrator and his Vendors. This is
the structure the BP Parties praised and urged in the Final Fairness Hearing and the same
process they now try to escape.

The terms of the Settlement Agreement do not incorporate the Federal Rules of
Evidence, Generally Accepted Accounting Principles (GAAP), or specific IRS
Regulations (other than those associated with the filing of valid tax returns). In some
cases, the terms of the Settlement Agreement favor the Claimant. In other cases, the
Settlement Agreement favors BP. In all cases, the terms of the Settlement Agreement
reflect a compromise that is the product of eight months of meticulous negotiations,
discussions and careful consideration by the Parties, the Claims Administrator, the
Vendors, and in some cases the Court. It is the responsibility of the Settlement Program
(including the Appeal Panelists) to faithfully apply the terms of the Settlement
Agreement, based on the documents that are accepted as sufficient under the terms of that

Agreement, and by the Claims Administrator. See, SECTION 4.3.1 (The Claims
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Administrator shall ... faithfully implement and administer the Settlement, according to
its terms and procedures); SECTION 6.4 (the Appeal Panelist or Appeal Panel shall ...
enforce compliance with this Agreement as approved by the Court).°

B. Under The Express Terms Of The Settlement Agreement, The BP
Parties Agreed That The Claimant Should Receive The Full
Compensation To Which The Claimant Is Entitled.

Central to the interpretation, implementation and application of the Settlement
Agreement is the assurance of a “Claimant-friendly” process, under which the Program
would afford Claimants with notice, information, assistance and opportunity to achieve
the maximum amount of compensation to which the Claimant is entitled under the
Settlement Frameworks that were negotiated. The BP Parties agreed to these principles,
which are clearly stated throughout the Settlement Agreement. In particular, Section
4.3.7 of the Settlement Agreement provides that:

“The Settlement Program, including the Claims Administrator and Claims
Administration Vendors, shall work with Economic Class Members
(including individual Economic Class Members’ counsel and Class
Counsel) to facilitate Economic Class Members’ assembly and submission
of Claims Forms, including all supporting documentation necessary to
process Claim Forms under the applicable Claims Processes. The
Settlement Program, including the Claims Administrator and Claims
Administration Vendors, shall use its best efforts to provide Economic
Class Members with assistance, information, opportunities and notice so
that the Economic Class Member has the best opportunity to be
determined eligible for and receive the Settlement Payment(s) to which

7 Under the “Baseball Rules” the Appeal Panelist or Panel must ultimately, in enforcing the
terms of the Settlement Agreement, “award the Claimant either the Final Proposal by the
Claimant or the Final Proposal by the BP Parties but no other amount.” SECTION 6.2.

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the Economic Class Member is entitled under the terms of the
Agreement.” (emphasis added).

(Settlement Agreement §4.3.7).° Moreover, Section 4.3.8. of the Settlement Agreement

expressly provides that:

“The Claims Administration Vendors shall evaluate and process the
information in the completed Claim Form and all supporting documentation
under the terms in the Economic Damage Claim Process to produce the
greatest ECONOMIC DAMAGE COMPENSATION AMOUNT that
such information and supporting documentation allows under the
terms of the ECONOMIC DAMAGE CLAIM FRAMEWORK. By way
of example, but not to be exclusive, if the Claimant selected a
COMPENSATION PERIOD or BENCHMARK PERIOD based on
information in a completed Claim Form and all supporting documentation
submitted by the Claimant, but a different Compensation Period or
Benchmark Period from the information in the submitted Claim Form
and/or the supporting documentation results in a greater Economic Damage
Compensation Amount under the terms of the Economic Damage Claim
Framework, that latter, different Compensation Period and/or Benchmark
Period shall be applied.” (emphasis added).

(Settlement Agreement §4.3.8). The Settlement ensures the Claimant is awarded the
most favorable level of compensation allowed under the Settlement Frameworks.

C. The Settlement Agreement Requires All Claims To Be Treated Fairly
And Equally, Without Any Negative Presumption.

The specific intent to ensure that all claimants are treated fairly, with no “special

deals” and without any negative presumption of any kind, is specifically stated

6 See also, SECTION 4.3.1 (the Claims Administrator shall implement and administer the
Settlement “for the benefit of the Economic Class”).

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throughout the Settlement Agreement. In particular, Section 4.4.7 of the Settlement

Agreement provides that:

“The criteria, documentation, proof, and Compensation Amount provisions
of each of the Claims categories shall apply equally to all Claimants
regardless whether they are proceeding individually, represented by others,
or proceeding as an assignee of an individual Claim.” (emphasis added).

(Settlement Agreement §4.4.7). Section 4.4.7 of the Settlement Agreement. similarly

makes it clear that:

“An Economic Class Member who had a claim with the GCCF that was
rejected or denied by the GCCF for any reason shall be treated like any
other economic Class Member submitting a Claim to the Settlement
Program. Specifically, there shall be no negative inference or
presumption of any kind as to the eligibility or right of any Economic
Class Member to receive a settlement Payment under the terms of the
Settlement Agreement.” (emphasis added).

(Settlement Agreement §4.4.9). Taken together, the negotiated terms of the Settlement
Agreement make clear that it is the responsibility of the Settlement Program (including
the Appeal Panelists) to faithfully apply the terms of the Settlement Agreement, in a
manner designed to produce the greatest allowable economic damage compensation
amount, with no negative presumption of any kind as to the eligibility or right of any
Economic Class Member to receive a Settlement Payment under the terms of the
Settlement Agreement. Id.

D. The Settlement Agreement Is Governed By Maritime Law And Must
Be Interpreted With The Words That Are Actually Written, And Not
The Words That BP Wishes Were Written.

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The Settlement Agreement provides that interpretation of the Agreement shall be
“in accordance with General Maritime Law as well as in a manner intended to comply

with the OPA.” (Settlement Agreement § 36). As stated in Kelly v. Bayou Fleet, Inc.,

2007 U.S. Dist. LEXIS 73637 *5-6 (E.D. La. 2007):

“The Fifth Circuit regards a settlement agreement as a contract
and courts are instructed to enforce them as they would a contract. See
Guidry v. Halliburton Geophysical Servs., 976 F.2d 938, 940 (3th Cir.
1992).”

* * * * *

It is nearly axiomatic that settlement agreements are a favored
means of resolving disputes. See, e.g. Williams v. First Nat'l Bank, 216
U.S. 582, 595, 30 S. Ct. 441, 54 L. Ed. 625 (1910) (citing Hennessy v.
Bacon, 137 U.S. 78, 85, 11 S. Ct. 17, 34 L. Ed. 605 (1890)). Because it is
presumed that the parties making settlements have consulted their own
interests, settlement agreements should not be taken lightly or be
interfered with or impeached. 7hibaut v. Ourso, 605 F. Supp. 1, 2-3
(M.D. La. 1981); see also Hennessy, 137 U.S. at 85.

* * * * *

‘It is well settled that in the absence of fraud, mistake, or other
circumstance going to the validity of the agreement, a settlement
voluntarily entered into cannot be repudiated by either party or set aside by
the court.’ Bisso, No. 94-690, 1996 U.S. Dist. LEXIS 757, 1996 WL 28520,
at; see also Thibaut, 605 F. Supp. at 3. Therefore, precedent dictates that
the contract must be interpreted with the words that are actually
written, and not the words that the defendant wishes were written.”
(emphasis added).

Kelly, 2007 U.S. Dist. LEXIS 73637 *5-6, *8, *10. In Kelly the court noted that the
defendant had “fair opportunity” to reject terms it found unacceptable. Id. The court
rejected defendant’s attempt to add provisions as an afterthought. Id. at *10.

In like manner, the BP Parties must live with the Settlement’s terms. The BP

Parties should not be allowed to rewrite the Agreement through the guise of defining

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terms in BP’s favor, but contrary to the mandate of Section 4.3.8. (Settlement Agreement
§4.3.8). The BP Parties may now wish they had insisted on rigidly defined accounting
terms to be used in calculating a claimant’s award, but they did not. Instead, the BP
Parties and the Plaintiffs charged the Claims Administrator with responsibility to
implement the terms of the Agreement by calculating the damage award for each eligible
claimant. (Settlement Agreement §4.3.9). If the Claims Administrator’s implementation
of the Settlement Agreement is within the wide latitude granted him by the Settlement
Agreement and is consistent with the mandate of Section 4.3.8, then the Appeal Panelist
should affirm the resulting award.

I. ROCON INC SATIFIED THE DOCUMENTATION REQUIREMENTS OF
THE SETTLEMENT AGREEMENT.

Documentation required for a Business Economic Loss Claim is set out in Exhibit
4A of the Settlement Agreement:

“The framework detailed below describes the documentation
requirements for business economic loss claims.

In order to be eligible for compensation, a business claimant must
provide the following:

1. A claim Form which the claimant (or claimant’s representative) shall
verify under penalties of perjury. The Claim Form shall direct the
claimant to provide information, including the claimant’s chosen
Compensation Period and corresponding Benchmark Period in the
year(s) selected by the claimant. The claimant shall attach required
documents supporting the claim. All statements made in and documents
submitted with the Claim Form may be verified as judged necessary by
the Claims Administrator.

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2. Documents reflecting the business structure and ownership of the
claimant, including but not limited to articles of incorporation,
shareholder list(s), and partnership or limited partnership agreements.

3. Federal tax returns (including all schedules, and attachments) for the
years included in the claimant-selected Benchmark Period, 2010, and, if
applicable, 2011.

a. Provide the complete federal tax return and the applicable supporting

documentation.
b. For self employed individuals, provide Form 1040, pages | and 2,
along with Schedules C, D, E, and F and Form 1099 if applicable.

4. Monthly and annual profit and loss statements (which identify
individual expense line items and revenue categories), or alternate
source documents establishing monthly revenues and expenses for
the claimed Benchmark Period, 2010 and, if applicable, 2011. Profit
and loss statements shall identify the dates on which they were created.
The Claims Administrator may, in his discretion, request source
documents for profit and loss statements. If there is a discrepancy
between amounts reflected in a tax return and comparable items
reflected in a profit and loss statement for the same period, the Claims
Administrator may request the claimant to provide additional
information or documentation.” (emphasis added).

(Settlement Agreement, Exhibit 4A, Doc. 6276-8 at p.2). As set out in further detail
below, ROCON provided all appropriate and/or requested documentation to the Claim
Administrator. The documents and information provided by ROCON were legitimate,
contemporaneous business records.

ROCON provided its Federal Tax Returns, Monthly Profit and Loss Reports,
(Monthly P&L Reports), Articles of Incorporation and all other documents required by
the Settlement Agreement. (Doc. File ID 72842, 72845, 162149, 162151, 164307,
164354, 164433). The Corporation’s Monthly P&L Reports were maintained

contemporaneously and recorded under the Accrual Basis Accounting Method. (Doc. ID

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2005158, 131986, 131987, 131988, 2005368). ROCON’s Federal Tax Returns were filed
under oath with the statutory penalty. (Doc. ID 131991, 132001, 132009, 7183367,
7623296). All of these documents and confirmations were provided as part of the
documentary support for ROCON’s claim.

The Claim Administrator compared ROCON’s Monthly P&L Reports (book
records) and Federal Tax Returns for the years 2007 through 2011. Because ROCON’s
books are maintained on a different basis than its tax returns, ROCON submitted a
reconciliation containing book to tax adjustments to the Claim Administrator. (Doc. ID
7623331). The variations on gross receipts were 2.59% for 2007; -1.92% for 2008; -
2.03% for 2009; -1.77% for 2010; and -8.00% for 2011. (Doc. ID 9269716 at 11). The
variations on net income were -1.39% for 2007; 2.39% for 2008; 0.50% for 2009; -0.02%
for 2010; and -0.22% for 2011. Id. The Claim Administrator determined there were no
material discrepancies between the amounts reflected in ROCON’s Monthly P&L
Reports and its Federal Tax Returns. ROCON’s internal record keeping and its tax
reporting reflected a true picture of the Corporation’s operations. Once the Claim
Administrator was satisfied with the accuracy and acceptability of ROCON’s financial
data, the claim process proceeded to a determination of the Claimant’s qualification and
the amount of the resulting Compensation Award.

The Settlement Agreement states that “the parties have agreed to a defined list of
fixed and variable expenses as reflected in Attachment A.” (Doc. 6430-10 at 2). Under

the Agreement, each expense must be classified by a designation of “Fixed,” “Variable,”

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“Revenue,” “Payroll” or “N/A.” Id. The Claim Administrator examined ROCON’s
Monthly P&L Reports and, based on the Claim Administrator’s protocols, each line item
was assigned a designation. (Doc. ID 9269716 at 4-9). These line item designations are
noted in the column styled “Type” on the Claim Administrator’s independent tabulation
of ROCON’s Monthly P&L Calculations. Id. ROCON’s revenues were used by the
Claim Administrator for causation and claim calculation. Id.

ROCON’s Monthly P&L Reports also reflect monthly expenses under two main
cost categories. The first is “Cost of Sales” and consists of various Cost of Goods Sold
(COGS) expenses. The COGS are detailed by line item with individual categories for
client expenses and software expenses. The Settlement Agreement provides:

“COGS will be treated as a variable expense after excluding...the

following costs which may be imbedded in COGS and are likely to be fixed

in nature: Fixed COGS Payroll, Amortization, Depreciation, Insurance

Expense, Interest Expense, and Contract Services.”

(Doc. 6430-10 at 2). ROCON agrees with the Claim Administrator’s designations of line
item costs in the COGS.

The second category is “Expense” and includes ROCON’s office and
administrative expenses. The Claim Administrator appropriately assigned each line item
a separate designation of either “Fixed,” “Variable,” “Payroll” or “N/A.” ROCON’s
financial data reflect a contemporaneous record of its business operation and was created
in the normal course of business. The Claim Administrator found ROCON’s financial

records to be properly maintained and the resulting data to be sufficient and reliable for

calculation of a Compensation Award under the Settlement Agreement. ROCON
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satisfied the documentation and record keeping requirements of the Settlement

Agreement.

I. THE CLAIM ADMINISTRATOR PROPERLY DETERMINED THAT
ROCON INC WAS AN ECONOMIC CLASS MEMBER AND SATISFIED
THE CAUSATION STANDARD FOR A BUSINESS ECONOMIC LOSS
CLAIMAINT UNDER THE SETTLEMENT AGREEMENT

ROCON was a construction contractor doing business in Mobile, Alabama during
April 20, 2010 to April 16, 2012. ROCON was not excluded under any provision of the
Settlement Agreement. (Doc. 6430-1 at 8-11; 6430-34). As such, ROCON is a member
of the Economic and Property Damages Settlement Class. (Doc. 6430-1 at 6-7). Because
of ROCON’ location, the Claim Administrator properly designated ROCON as a “Zone
D Business.” (Doc. 6430-3, 6430-4). As a Zone D Business, ROCON had to satisfy one
of the agreed economic criteria in order to qualify for a Compensation Award. (Doc.
6430-9 at 5). One of these qualification criteria is the “V-Shaped Revenue Pattern,” (the
“V-Test’”), which requires:

“III. Causation Requirements for Zone D
If you are not entitled to a presumption as set forth in (1) above and
you are located outside of Zones A, B or C, then you must satisfy the
requirements of one of the following sections A-F below:
A. V-Shaped Revenue Pattern:
Business revenue shows the following pattern:

1. DOWNTURN: a decline of an aggregate of 15% or more in total
revenues over a period of three consecutive months between May-
December 2010 compared to the same months in the Benchmark
Period selected by the claimant;

AND

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2. LATER UPTURN: an increase of an aggregate of 10% or more in
total revenues over the same period of three consecutive months in
2011 compared to 2010.”

(Doc. 6430-9 at 6). As required, ROCON provided its Monthly P&L Reports for the
years 2007 through 2011, which set out the data needed to perform the V-Test. (Doc. ID
2005158, 131986, 131987, 131988, 2005368). The Claims Administrator determined
that ROCON satisfied the “V-Shaped Revenue Pattern Test” in the benchmark periods
2008/2009. (Doc. ID. 9622480 at 1, 6). In each test period, ROCON demonstrated a 15%
or greater decrease in the pre-spill test periods with a corresponding increase in 2011 of
greater than 10% in revenues. (Doc. 6430-9 at 6). The Claim Administrator performed
this V-Test and confirmed ROCON was an eligible class member that met the agreed
causation standard for recovery. (See Doc. ID 9622480).
IV. THE CLAIM ADMINISTRATOR CALCULATED THE CORRECT

COMPENSATION AMOUNT IN ACCORDANCE WITH THE TERMS OF

THE SETTLEMENT AGREEMENT

Under the Settlement Agreement, the Compensation Award is determined in two
“Steps”; the first of which is set out as:

“Step 1- Compensates claimants for any reduction in profit between the

2010 Compensation Period selected by the claimant and the comparable

months of the Benchmark Period. Step 1 compensation reflects the

reduction in Variable Profit (which reflects the claimant’s revenue less its

variable costs) over this period.”

(Settlement Agreement, Exhibit 4C). The “Compensation Period” and “Benchmark

Period” are the results negotiations. The “Compensation Period” is defined as:

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“The Compensation Period is selected by the Claimant to include three or
more consecutive months between May and December 2010.”

(Settlement Agreement, Exhibit 4C). If a settlement had not been reached, the
compensation, or damages, would have been left for proof at trial and a jury would have
made the determination. Instead of a negotiated Compensation Period, the jury award
could legally have ranged well beyond the eight months, (May through December 2010),
that form the upper limit allowed by the Settlement Agreement. Id. At trial, a plaintiff
could establish that the oil spill’s impact lasted well into 2012 or even longer, depending
on the evidence. The limited Compensation Period that the BP Parties bargain to receive
is a benefit that they now enjoy only because of the Settlement Agreement.

In like manner, the “Benchmark Period” is a defined term under the Settlement
Agreement:

“The Benchmark Period is the pre-DWH Spill time period which claimant

chooses as the baseline for measuring its historical financial performance.

The claimant can select among the following Benchmark Periods: 2009; the

average of 2008-2009; or the average of 2007-2009, provided that the range

of years selected by the claimant will be utilized for all Benchmark Period

purposes.”
(Settlement Agreement, Exhibit 4C). Under Section 4.3.8 of the Settlement Agreement,
the Claims Administrator is charged to select the best combination of months to define
the claimant’s Compensation Period and to make the comparison to the corresponding

Benchmark Period to calculate the greatest award supported by the data. That is what the

Claims Administrator did in this case and his decision should be affirmed.

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Absent the Settlement Agreement, plaintiffs, such as ROCON, would have taken
the BP Parties to trial and would not have been limited to the Settlement’s 3-year
Benchmark Period of 2007 through 2009 in proving damage. Id. Rather, a plaintiff might
use a 4-year period or a 5-year period to show its prior economic strength in support of
damages. However, because BP entered the Settlement Agreement, claimants are
allowed only a more limited recovery consisting of loss of Variable Profits calculated for
a period of time restricted to between 3 and 8 months in a consecutive series. If
claimant’s damages extended for 9 months, 19 months or even longer, the claimant’s
losses for all of those months cannot be considered. The BP Parties bargained for and
received a great benefit from the Settlement Agreement. They must accept the
Agreement, with both its benefits and the discomforts, as it is written and not as they now
wish it had been written.

When the BP Parties now speak of the Claimant’s Award being excessive or
complain that it is the product of unintended consequence, they speak while holding
tightly to all the benefits they gained by settling. The BP Parties traded use of 8 months
to calculate damages in exchange for not experiencing jury award for damages that may
have reached for years into the future. The Settlement Agreement does not compensate
the Claimant solely for losses in a single 8 month period, it is all the compensation the
Claimant will receive for any and all damages that Claimant may have suffered or may
suffer at any time in the future. (Settlement Agreement and Release). The BP Parties

cannot have their cake and eat it too. If they want the benefit of the Settlement when it

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limits their liability, they must accept the results in all cases where the claimant qualified
to participate in the Settlement. As has been demonstrated, ROCON met the V-Test that
the BP Parties designed. ROCON is a qualified member of the class and is qualified to
recover a Compensation Award. The Claim Administrator correctly calculated the
ROCON’s Compensation Award and RTP factor. ROCON’s Award should be affirmed.

A. ROCON INC’s Expenses Are Appropriately Designated as “Fixed,”
“Variable,” “Payroll,” or “N/A.”

The Claim Administrator employs certain “Claim Administration Vendors,”
(Vendors), as allowed by the Settlement Administrator. These Vendors are recognized
accounting firms or companies with significant experience is adjusting financial loss
claims. Id. The Claim Administration Vendors were experienced accounting firms, who
had previously been approved by the BP Parties. (Settlement Agreement, Sec. 4.3.5).

The Vendors designated each of ROCON’s expenses according to the four
classifications: “Fixed,” “Variable,” “Payroll” or “N/A.” The Vendors then calculated
ROCON’s Compensation Award based on ROCON’s financial data. The methods of
designating expenses and the calculation of Pre-RTP Compensation Awards were applied
by these Claim Administration Vendors. (Settlement Agreement, Sec. 4.3.5). The
Vendors calculated ROCON’s Pre-RTP Compensation Amount to be $142,576.07. (Doc.
ID 9622480). The Claim Administrator accepted this calculation. Id. ROCON agrees
with the Claim Administrator’s determination and believes that expenses, including
payroll, have been correctly entered as “Fixed,” “Variable,” “Payroll” or “N/A.”

ROCON recognizes that the BP Parties have alleged that “there are significant
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inconsistencies and anomalies in the financial data” and that “there are a number of
questions and issues regarding trends and financial data that impact the calculation.”
(Doc. ID 9622480 at 1). Without the exact details of the BP Parties dispute, it is difficult
to evaluate the merits of the argument and therefore ROCON reserves the right to further
respond on this issue.

B. The Appropriate Bench Mark Compensation Periods Were Used For
Step 1 and Step 2 Compensation

As shown in the Claim Administrator’s Calculations, the Benchmark
Compensation Period of 2008/2009 was selected as the optimum compensation period.
Additionally, the applicable Step 1 Period of June 2010 to September 2010 and Step 2
Compensation Period of May 2010 to October 2010 were selected as the periods during
the Benchmark Period which allowed the greatest benefit to the Claimant. The resulting
Step 1 Compensation was determined to be $142,576.07, and the Step 2 Compensation
was calculated as $0.00. (Doc. ID 9622480 at 6). This was in keeping with the provisions
of the Settlement Agreement, which directs that the method used should produce the
“sreatest” award allowed by the financial data — not a lesser award. See, Settlement
Agreement at Paragraph 4.3.8, p. 19. The approach used by the Claim Administrator was
the same used many hundreds, if not thousands, of times for other economic loss
claimants. Any misgivings by the BP Parties’ are inappropriate at this stage — the
Settlement has been reached and its terms should be applied to grant Claimants, such as

ROCON, the full benefits of its provisions.

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C. The Appropriate RTP Factor of 0.25 Was Applied by The Claims
Administrator

ROCON is a Non-Tourism and Non-Seafood Business located in Zone D. The
Compensation and RTP Guidelines set out in the Settlement Agreement require that the
appropriate RTP Factor to be applied to ROCON’s Compensation Amount is 0.25. (Doc.
6430-10; 6430-33 at 3). The Claim Administrator appropriately applied this RTP factor
to ROCON’s Compensation amount.

D. The Amount of Accounting Reimbursement Was Properly Determined

Pursuant to the Claimant Accounting Support guidelines of the Settlement
Agreement, ROCON is allowed to retain reimbursable accounting support to assist in the
calculation of the claim within certain guidelines stated by the Settlement Agreement.
(Doc. 6430-1 at 27-31). For Business Economic Loss Claimants the maximum amount
of reimbursement is 2% of the total Economic Compensation Amount not to exceed
$50,000. (Doc. 6430-1 at 30). ROCON is seeking an Accounting Reimbursement of only
$530.30 and has appropriately provided the applicable sworn statements and itemized
billing. (Doc. ID 1981089, 873481). The amount determined by the Claim Administrator
was $530.30. (Doc. ID 9622480 at 1). There was no calculation error. This modest
compensation should be affirmed.

CONCLUSION

ROCON requests that the Appeal Panelist rule that the Claimant complied with the
terms of the Settlement Agreement and that the Compensation Amount of $142,576.07

and the RTP Multiplier of 0.25 be upheld. Such a result is in keeping with the terms,
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methods and formulae established by the Settlement Agreement, the Court’s Order of
March 5, 2013, and the Claims Administrator’s Policy Decision of January 15, 2013. To
follow the path urged by the BP Parties is to ignore the plain language of the Agreement
and to actually add terms not found in its pages. With the BP Parties’ endorsement and
consent, the Claim Administrator was charged with testing Claimant’s eligibility and, if
eligible, with calculating Claimant’s Award. The BP Parties may now wish to apply a
different method. However, if the methods applied by the Claim Administrator are valid
—and they are — it is immaterial that a different method would produce a result more to
the BP Parties’ liking. The duty of the Claim Administrator and, with respect, the duty of
the Appeal Panelist is to examine ROCON Center’s claim so as to reach the greatest
Compensation Award allowable under the Settlement Agreement. The Compensation
Award of $142,576.07 with a RTP Multiplier of 0.25 is sound, appropriate and meets the

mandate of the Settlement Agreement. It should be affirmed.

s/E. J. Saad
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s/Matthew Andrews
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CERTIFICATE OF SERVICE

I hereby certify that a copy of the above and foregoing Brief has been served on
the following named persons by electronic filing on this 8th day of May, 2013:

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Appendix A

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig * MDL No. 2179
“Deepwater Horizon” in the Gulf 7
of Mexico, on April 20, 2010 7 SECTION “J”
This Document Relates To: 7 JUDGE BARBIER
No. 12-970 *

* MAGISTRATE SHUSHAN

Review of Issue from Panel (Matching of Revenue and Expenses)

Before the Court is a motion by BP, asking the Court to review and reverse the Claims
Administrator’s January 15, 2013 policy decision interpreting certain portions of the Economic
Settlement Agreement!

Accordingly, the Court has re-visited the issue of whether the Claims Administrator has
correctly interpreted the terms of the Economic and Property Damage Settlement Agreement as it
applies to the calculation of “Variable Profit” for Business Economic Loss Claims.

After fully reviewing the additional materials submitted by the parties and the relevant
portions of the Settlement Agreement, the Court affirms the Claims Administrator’s interpretation
as set forth in the January 15, 2013 Announcement of Policy Decisions Regarding Claims
Administration.

Nowhere does the Agreement state or indicate that revenue and expenses must be “matched”

or revenues “smoothed,” nor does it state that one should inquire into when revenue was “earned.”

'Following the vacation of the Court’s prior ruling in an email dated January 30, 2013, the parties have made
further submissions to the Court and have met with Dan Balhoff, court appointed neutral, both privately and jointly. Mr.
Balhoff also had the opportunity to meet with the Claims Administrator, Pat Juneau, and representatives of his
professional accounting staff. The Court met with Mr. Balhoff on February 19, 2013 and received a report from him
regarding his efforts. Mr. Balhoff reported that there is no likelihood of a negotiated resolution of the dispute. The fees
of Mr. Balhoff for his participation in attempting to resolve this dispute shall be paid by BP as part of the cost of claims
administration.

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Rather, the provisions of Exhibit 4C and 4A, when read together, support the Claims Administrator’ s

interpretation.
For example, Step | of the of Exhibit 4C’s Compensation Framework states:

Step | of the compensation calculation is determined as the difference in Variable
Profit between the 2010 Compensation Period selected by the claimant and the
Variable Profit over the comparable months of the Benchmark period.

Exhibit 4C p. 3 (emphasis added); see also id. at | (“Step 1 — Compensates claimants for any
reduction in profit between the 2010 Compensation Period selected by the claimant and the
comparable months of the Benchmark Period. Step 1 compensation reflects the reduction in
Variable Profit (which reflects claimant’s revenue less its variable costs) over this period.”
(emphasis added)). The meaning of “comparable” is illustrated by the examples provided in Exhibit
AC:

Scenario |:

1) Claimant selected the months of May-July 2010 for the purpose of determining
causation, and the claimant, using these months, meets the causation test for the
Benchmark period years of 2009, 2008-2009 and 2007-2009;

2) In determining Compensation, Claimant would be allowed to select the months
of August through November 2010 as compared to the months of August through
November in either 2009, 2008-2009 or 2007-2009 as the Benchmark years —
whichever provides the highest compensation.

Scenario 2:

() Claimant selected the months of October — December 2010 for the purpose of
determining causation and the claimant, using these months, mects the causation test
for the Benchmark period years of 2009, 2008-2009;

2) In determining compensation, Claimant could select the months of
May-September 2010 as compared to the months of May-September in either 2009
or 2008-2009 — whichever provides the highest compensation.

Scenario 3:

1) Claimant selected the months of June — August 2010 for the purpose of
determining causation and the claimant, using these months, meets the causation test
for the Benchmark period year of 2009. In addition, Claimant selected the months
of August — October 2010 for the purpose of determining causation, and the

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claimant, using these months, meets the causation test for the Benchmark period
years of 2007-2009;

2) In determining compensation, Claimant could select the months ofMay-December

2010 as compared to the months of May-December in either 2009 or 2007-2009 —

whichever provides the highest compensation.

Exhibit 4C, Addendum. These examples make clear that the same months of the Compensation
Period are to be compared with the months in the Benchmark period; not, as BP urges, that the
Claims Administrator’s accountants should seek out months where the claimant engaged in
comparable activity. Notably, this is the exact interpretation BP advocated while the parties
negotiated the Settlement Agreement:

The word “comparable” and phrase “comparable months of” is used throughout the

document in the context of comparing the months selected by the Claimant in 2010

to compare against the same months in the Benchmark Period.

[E-mail from Richard Godfrey to Joe Rice and Calvin Fayard (Feb. 17, 2012), Ex. 3 to PSC
Submission (emphasis added).

The heart of this dispute, however, appears to center on the word “corresponding” as it is
used in the calculation of*Variable Profit” (which, in turn, is used in Step | of the Compensation
Framework):

Variable Profit: This is calculated for both the Benchmark Period and the

Compensation Period as follows:

|. Sum the monthly revenue over the period.

2. Subtract the corresponding variable expenses from revenue over the same

time period. ...
Exhibit 4C at 2 (emphasis added). The question is whether variable expenses must correspond to
the revenue those expenses produced, as BP contends, or whether variable expenses must correspond

to “the same time period,” as Class Counsel contends. BP claims that Class Counsel’s interpretation

ignores “corresponding;” Class Counsel claims that BP’s interpretation ignores “the same time

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period.”

The Court adopts Class Counsel’s interpretation as it is most in line with the rest of the
Settlement Agreement. For example, the documentation provisions contained within Exhibit 4A
make it clear that the Program’s analysis is to be based on revenue and expenses during the relevant
periods chosen by the claimant, as reflected in historical business records. Specifically, the
Framework requires:

Monthly and annual profit and loss statements (which identify individual expense

line items and revenue categories), or alternate source documents establishing

monthly revenues and expenses for the claimed Benchmark Period, 2010 and, if

applicable, 2011.

Exhibit 4A {4 (emphasis added, footnotes omitted). If expenses had to be “matched” to revenues,
then the Settlement Program would potentially need to consider financials that pre-date the
Benchmark Period. Likewise, Exhibit 4A does not require that accounting occur on an “accrual”
basis, as opposed to a “cash” basis.’ Similarly, Exhibit 4C’s examples quoted above reflect that the
Framework is based on the expenses and revenues that were recorded in the Claimant-selected
months, not expenses and revenues that occurred outside these months, Furthermore, although a
claimant may select the Benchmark and Compensation Periods, his choice is subject to certain
restrictions. Notably, the Benchmark and Compensation Periods must be a minimum of three

consecutive months. This demonstrates that the parties anticipated that too short a snapshot could

create “anomalies,” and the three-month minimum was the agreed-upon method for controlling for

* On arelated note, Exhibit 4A J] 5, 6 does require certain additional documents for certain types of businesses
and for certain types of causation tests. However, Exhibit 4A does not require extra documents or a specitic type of
accounting for the businesses that are the subject of the instant dispute. Similarly, while the Settlement Agreement
permits the Claims Administrator to exercise his discretion to request source documents for profit and loss statements:
it appears that this is to ensure that the statements are accurate and consistent, not that they use one accounting method
over another. See Exhibit 4A ] 4 (“If there is a discrepancy between amounts reflected in a tax return and comparable
items reflected in a profit and loss statement for the same period, the Claims Administrator may request the claimant to
provide additional information or documentation.”).

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such anomalies. See Fishkind Decl. §87;’ Henley Decl. § 30 (submitted with BP’s motion for final
approval).

With respect to BP’s argument that this interpretation of the Settlement Agreement can create
absurd results, BP’s declarant acknowledges that class settlement payments do not always perfectly
match economic losses in every instance. Polinsky Declaration, p.5 n.8, Ex. 9 to BP’s submission.
BP’s counsel similarly explained that “false positives” are an “inevitable concomitant of an
objective quantitative, data-based test.” Letter from Mark Holstein to Patrick Juneau (Sept. 28,
2012), p. 3, Ex. 12 to PSC’s Submission.

And, as mentioned above, the parties agreed to give Claimants flexibility in choosing the
most favorable Compensation and Benchmark Periods. Indeed, the Settlement Agreement provides
that if a Claimant fails to select the period that generates the greatest recovery, the Program will
choose that period for him. Objective formulas, the possibility of “false positives,” and giving
claimants flexibility to choose the most favorable time periods are all consequences BP accepted
when it decided to buy peace through a global, class-wide resolution. In light of this, to the extent
that the Claims Administrator’s interpretation produces “false positives” or, as BP claims, “absurd”
results, it appears that the Settlement Agreement anticipates that such results would sometimes
occur.

The overarching theme of the Settlement is a transparent, uniform application ofan objective
quantitative data-based test which can be fairly and efficiently administered by the Claims

Administrator, Notably, the Settlement Agreement itself defines those businesses that lost profits,

> “(T]he requirement that the Benchmark and Compensation periods used to measure decline and recovery be
measured over at least 3 months is a reasonable means of ensuring that the data reflect a genuine trend in economic
performance and not just routine month-to-month variation that any business can expect even absent any unusual event.”

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income, and/or earnings “as a result of’ the Spill as those businesses that meet the objective
causation requirements set forth in Exhibit 4B. Once the Settlement’s causation formula is met, then
all losses calculated under Exhibit 4C are presumed to be attributable to the oil spill. BP’s
interpretation injects a subjective notion of alternative causation and a degree of complexity that are
contrary to the Settlement’s terms.

New Orleans, Louisiana, this Sth day of March, 2013.

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Appendix B

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CLAIMS CENTER

ECONOMIC & PROPERTY DAMAGE CLAIMS

MEMORANDUM
TO: Class Counsel
BP
FROM: Patrick A. Juneau, Claums Administrator
DATE: January 15, 2013
RE: Announcement of Policy Decisions Regarding Claims Administration

Under the terms of the Deepwater Horizon Economic and Property Damage Settlement
Agreement (‘Settlement Agreement”), the Claims Administrator ts charged with the duty to
“faithfully implement and administer the Settlement, according to its terms and procedures, lor
the bencfit of the Economic Class, consistent with this Agreement, and/or as agreed to by the
Parties and/or as approved by the Court.” (Section 4.3.1 of the Setticment Agreement). Further,
the Claims Administrator is charged with the responsibility to “work with Economic Class
Members ... to facilitate... assembly and submission of Claims Forms, tncluding all supporting
documentation necessary to process Claims Forms under the applicable Claims Processes . . .
[and lo] provide Economic Class Members with assistance, information, opportunities and notice
so that the Economic Class Member has the best opportunity to be determined eligible for and
receive the Settlement Payment(s) to which the Economic Class Member is entitled under the
terms of thts Agreement.” (Section 4.3.7 of the Settlement Agrecmenl).

In accordance with these provisions, the Claims Administrator has adopted the following
policies affecting the administration of claims under the Settlement Agreement. These polices
will be the subject of the 1/16/13 session of the Claims Administration Pancl and are not to be
made public until after those procecdings have been concluded.

(. Business Economie Loss Claims: Calenlation of Variable Profit.

Exhibit 4C of the Settlement Agrecment sets out the methodology to be used in
calculating Variable Profil as a component of determining Step | Compensation.

That methodology is as follows;
(1) Sum the monthly revenue over the period.

(2) Subtract corresponding variable expenses trom revenue over the same time period
Variable expenses include:

(a) Variable Costs as identified in Attachment A,

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CLAIMS CENTER

ECONOMIC & PROPERTY DAMAGE CLAIMS

(b) Variable partion of salaries. calculated as described below ta the definition of
Fixed and Variable Payroll [’xpenses.

(c) Variable portion of COGS, calculated by excluding salary costs... and fixed
expenses included within COGS, including Amortization, Depreciation, Insurance
Expense, and tnterest Expense and Contract Services.

In performing these calculations, the Claims Administrator will typically consider both
revenues and expenses in the periods tn which those revenues and expenses were recorded at the
lime. The Claims Administrator will not typically re-allocate such revenues or expenses to
different periods, The Claims Administrator does, however, reserve the right lo adjust the
financial statements in certain circumstances, including but not limited to, inconsistent basis of
accounting between benchmark and compensation periods, errors in previously recorded
transactions and Mawed or inconsistent lreatment of accounting estimates.

2. Business Economic Loss Claims: Timing of Revenues for Purposes of Causation.

Exhibit 4B of the Settlement Agreement scts oul the methodology lo be used in assessing
causation. That methodology largely concerns consideration of total net revenues before the spill
vs. total net revenues after the spill. In performing these calculations, the Claims Administrator
will typically consider revenues tn the periods in which those revenues were recorded at the
time. The Claims Administrator will not typically re-allocate such revenues to different periods.
The Claims Administrator does, however, reserve the right to adjust the financial statements in
certain circumstances, including bul not limited to, inconsistent basis of accounting between
benchmark and compensation periods, errors in previously recorded transactions and flawed or
inconsistent treatment of accounting eslimales.

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Appendix C

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Appendix D

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